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KTF/BW/DIB
F. #2024R00288

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – –X

 UNITED STATES OF AMERICA                             ELEMENTS SHEET

           - against -                                24-CR-359 (LDH) (SJB)

 LONG PHI PHAM,

                             Defendant.

 – – – – – – – – – – – – – – – – –X

                  The government respectfully submits this elements sheet to advise the Court of

the elements of the sole count of the above-captioned information, which charges the defendant

LONG PHI PHAM with conspiracy to commit wire fraud, in violation of 18 U.S.C. § 1349.

                                  Conspiracy to Commit Wire Fraud

                  The elements of conspiracy to commit wire fraud in violation of 18 U.S.C. § 1349

are as follows:

                  1.     Two or more people formed an unlawful agreement to commit the crime

of wire fraud, in violation of 18 U.S.C. § 1343;

                  2.     The defendant knowingly and intentionally joined the conspiracy.1

                  The elements of wire fraud, in violation of 18 U.S.C. § 1343 are as follows:

                  1.     There was a scheme or artifice to defraud or to obtain money or property

by materially false and fraudulent pretenses, representations or promises;




       1
        Adapted from Jury Instructions, United States v. Greebel, 15-CR-637 (KAM) (Dec. 19,
2017) (ECF No. 498).
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                                                                                                    2


                  2.     The defendant knowingly and willfully participated in the scheme or

artifice to defraud, with knowledge of its fraudulent nature and with specific intent to defraud;

and

                  3.     In the execution of that scheme, the defendant used or caused the use of

interstate wires.2


Dated: Brooklyn, New York
       September 30, 2024

                                               Respectfully submitted,

                                               BREON PEACE
                                               United States Attorney
                                               Eastern District of New York

                                        By:             /s/
                                               Kaitlin T. Farrell
                                               Benjamin Weintraub
                                               David I. Berman
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cc:    Michael Soshnick, Esq.




        2
            Adapted from Sand, et al., Modern Federal Jury Instructions, Instruction 44-3.
